                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON

 In re
     Xavier, T Darious                             Case No. ________________
     aka Darious Xavier


 Debtor(s)                                         CHAPTER 13 PLAN DATED _________
                                                                          10/05/2022

NOTICE: Your rights may be affected: all parties (including debtor and creditors) are bound to the
terms of a confirmed plan. Creditors’ claims may be modified or eliminated. The plan imposes
obligations and duties on the debtor and other parties. You should read these papers carefully
and discuss them with your attorney. If you do not have one, you may wish to consult one.

If you oppose the plan treatment of your claim or any provision of this chapter 13 plan, you must file an
objection. Failure of a creditor to file a written objection to this plan will constitute acceptance of the
plan, and the bankruptcy court may confirm the plan without further notice. Objections must be
filed within 14 days after the conclusion of the meeting of creditors, unless otherwise ordered by the court;
for an amended plan, the deadline is in the attached notice of amendment. If there are any additional plan
provisions or provisions that alter the language of paragraphs 1–14, they must be in paragraphs 15+
below.

1.     Plan Motions. This plan includes the following items (and does not include items not selected):

Includes
             Motion to Value Collateral: A limit on the amount of a secured claim, set out in
             paragraphs 4(b)(1) and (2), which may result in a partial payment or no payment at all to the
             secured creditor.
             Motion for Relief: Termination of the automatic stay with respect to surrendered property,
             set out in paragraph 4(b)(4), or property subject to a rejected contract or lease, set out in
             paragraph 5.

             Motion to Avoid Liens: Avoidance of a judicial lien or nonpossessory, non-purchase-money
             security interest, set out in paragraph 6.

             Nonstandard Provisions: Nonstandard provisions, set out starting in paragraph 15.


2.     Applicable Commitment Period. The applicable commitment period of this plan is        36 or      60
       months. Debtor must make plan payments for that period unless debtor first pays 100% of all allowed
       claims with appropriate interest. If that period is 36 months, the plan payments may continue for a
       longer period, not to exceed 60 months, as necessary to complete required payments to creditors.
       The approximate length of the plan is 60 months; cause to extend longer than 36 months is as
       follows: _______________________________________________________________________
                applicable commitment period
       ______________________________________________________________________________
       ______________________________________________________________________________.

 3. Payments to the Trustee. Debtor must pay to the trustee:

       (a) a monthly payment of $ ___________________________________________________________
                                  162
           ______________________________________________________________________________ ;

1300.21 (12/1/2021)                             Page 1 of 7

                            Case 22-31672-thp13        Doc 2     Filed 10/06/22
    (b) all non-exempt proceeds from avoided transfers, including those from transfers avoided by the
        trustee;

    (c) with respect to the following tax years ______________;
                                                 2022 - 2026        (mark only one):       upon receipt,
        net tax refunds attributable to those tax years.      no portion of net tax refunds attributable to
        those tax years. Net tax refunds are those tax refunds not otherwise provided for in the plan, less
        (1) tax paid by debtor for a deficiency shown on any tax return for that same tax year or tax paid
        by setoff by a tax agency for a postpetition tax year; (2) any earned income tax credit; (3)
        if checked, child care credits; and (4)       if checked, _______________________________.

    (d) a lump sum payment of $__________________
                                       NA         on or before _______________ (date); and

    (e) ____________________________________________________________________.
        proceeds from the sale or refinance of real property as outlined in paragraph 15

 4. Trustee Disbursements and Treatment of Claims. The trustee must commence prepetition
    disbursements required by paragraph 4(b)(3); upon confirmation of this plan, the trustee must
    commence disbursements in accordance with this plan. The trustee must not make any
    disbursement under this paragraph except on account of an allowed claim or allowed administrative
    expense. Should the trustee not have sufficient funds in trust to pay fully the disbursements listed
    below, disbursements of available funds must be made pro rata. The trustee must disburse all funds
    in the following amounts and order:

    (a) Trustee’s Fee and Expenses. First, to the trustee's percentage fee and expenses.

    (b) Treatment of Secured Claims. Second, to secured creditors as provided in (1) and (2) below.
        The terms of debtor’s prepetition agreement with each secured creditor will continue to apply,
        except as otherwise provided in this plan or in the confirmation order.

        The value of collateral for secured claims is fixed at the values stated in (1) and (2) only if there
        is a check in the box “Includes” in paragraph 1 for “Motion to Value Collateral” and the plan is
        served on the secured creditor as required under FRBP 7004 or the allowed amount of the
        secured claim is fixed by consent of the secured creditor. Secured creditors’ liens shall be treated
        in accordance with § 1325(a)(5)(B)(i) and must be released when retention ends under that
        section.

        (1) Cure of Default and Claim Modification. Debtor must cure the default and maintain the
            contractual installment payments (as provided in paragraph 7) on a secured claim listed
            below in the “Estimated Arrearage if Curing” column. The amount listed in that column is an
            estimate; the creditor’s allowed claim will control. A claim listed in the “Collateral Value if
            Not Paying in Full” column is an allowed secured claim only to the extent of the value listed,
            and pursuant to § 506(a), debtor MOVES the court for an order fixing the value of the
            collateral in the listed amount.

             The value of the creditor’s interest in the collateral is limited to the amount listed below, and
             that amount will be paid under the plan with postconfirmation interest at the rate stated
             below. The holder of a claim listed in the "Estimated Secured Claim if Paying in Full" column
             will receive the total amount of the claim as set forth in the creditor's proof of claim.

             For all creditors provided for under this subparagraph (1), if the creditor’s claim will not be
             paid in full, the portion of the creditor’s claim that exceeds the amount of the allowed secured
             claim will be treated as an unsecured claim under paragraph 4(f) (if the claim identifies the
             priority position of the claim) and 4(g) below.




1300.21 (12/1/2021)                            Page 2 of 7

                          Case 22-31672-thp13          Doc 2     Filed 10/06/22
                                                               Collateral Estimated
                                                                Value if   Secured
                                                    Estimated    Not       Claim if                Monthly
                                                    Arrearage Paying in Paying in       Interest     Plan
          Creditor                 Collateral        if Curing   Full        Full         Rate     Payment
None




                                                    Use only one of these columns for
                                                              each creditor




         (2) Secured Claim Modification Not Expressly Authorized by the Code. Treatment of
             secured claims under this subparagraph (2) may include modification of a claim secured by
             a purchase-money security interest in either (a) a motor vehicle acquired for personal use
             by the debtor within 910 days before the petition date or (b) any other personal property
             collateral acquired within 1 year before the petition date. A secured claim treated in this
             subparagraph is limited to the amount listed in the “Amount of Claim as Modified (Value of
             Collateral)” column. Debtor MOVES the court for an order fixing the value of the collateral
             in the amount listed below. Debtor proposes that the creditors listed accept, either
             expressly or impliedly, the following treatment, which might not be able to be
             approved absent consent of creditor. Failure of a creditor to file a written objection
             to confirmation of this plan before confirmation will constitute acceptance of the plan.

                                                                   Amount of
                                                                   Claim as         Post-
                                                                    Modified     confirmation
                                                                   (Value of       Interest        Monthly
             Creditor                       Collateral             Collateral)       Rate          Payment
  None




 1300.21 (12/1/2021)                            Page 3 of 7

                          Case 22-31672-thp13         Doc 2    Filed 10/06/22
          (3) Adequate Protection. Payments must be disbursed by the trustee before confirmation, as
              adequate protection, from funds on hand with the trustee in the payment amounts specified
              in the plan for personal-property-secured creditors. Payments by the trustee before
              confirmation will be deducted from the amount of the allowed secured claim. Unless the
              concerned creditor is fully secured or over secured under § 506 or § 1325(a)(9), no interest
              will accrue or may be paid from the petition date to the confirmation date unless otherwise
              specifically provided for in the payment provisions set forth above.

          (4) Surrender of Collateral. Debtor must surrender any collateral not addressed by the terms
              of this plan no later than the confirmation date to the following (state creditor name followed
              by description of collateral to be surrendered, and if debtor does not have possession of the
              collateral, so state):
               Diamond Resorts (Timeshare)




              With respect to the claims secured by the collateral listed in this subparagraph (4), debtor
              moves that the stay of § 362(a) be terminated as to the collateral only and that the stay of
              § 1301 be terminated.

    (c) Debtor’s attorney compensation and expense reimbursement. [If this plan is filed as a
        postconfirmation amendment of plan, leave this part 4.(c) entirely blank; any postconfirmation
        compensation and expense reimbursement will be addressed by application under LBF 1307]
        Third, to debtor’s attorney fees of $ __________
                                                4,900    and expenses of $ __________,
                                                                                    185      of which
        $__________
             1,185     had been paid as of the date the attorney’s Chapter 13 Debtor’s Attorney’s
        Compensation Disclosure and Application on LBF 1305 was filed, leaving $ __________ 3.900
        unpaid.

          The attorney [check one]     may    may not apply for supplemental compensation and expense
          reimbursement.

          Debtor moves for modification of the automatic stay of § 362(a) to permit the attorney to offset
          the amount allowed to the attorney, to the extent it accrued before the petition date, against the
          amount that had been paid before the petition date.

          The attorney will be paid as follows [check only one]:

               All allowed attorney fees and expenses, including supplemental compensation, will be
               paid from all available funds after the trustee makes any disbursements under paragraph
               4(a) and any fixed monthly payments in paragraph 4(b).

               Other:                                                                                 .

    (d) Domestic Support. Fourth, to allowed unsecured domestic support obligations under §
        507(a)(1), and these claims must be paid in full.

    (e) Administrative Expenses. Fifth, to allowed administrative expenses under § 507(a)(2), and
        these claims must be paid in full.

    (f)   Priority Claims. Sixth, to allowed priority claims in the order stated in § 507(a)(3)-(10), and these
          claims must be paid in full.

1300.21 (12/1/2021)                             Page 4 of 7

                            Case 22-31672-thp13         Doc 2     Filed 10/06/22
      (g) Unsecured Claims. Seventh, to allowed nonpriority unsecured claims, the amounts required
          by § 1325(b)(1) [check only one].
              (1) Creditors will receive approximately                % of their claims. Payment of any
                  dividend will depend on the amounts of allowed secured, priority (including costs of
                  administration and the debtor’s attorney fees), and nonpriority unsecured claims.
               (2) Creditors will receive full payment of their claims.

      (h) Best Interest of Creditors. The "best interest of creditors" number is $ 300,114 , and not
          less than that amount must be distributed to unsecured priority and nonpriority creditors. The
          amount of allowed priority claims will reduce the amount distributed to allowed unsecured
          nonpriority creditors.

      (i)   Unsecured Claim Interest. All allowed unsecured claims will receive interest of ______
                                                                                              4    % from
            the time of confirmation.

      (j)   Untimely Claims Disallowed. Subject to the provisions of § 502(b)(9), untimely claims, other
            than those secured claims for which the treatment is specified in paragraph 4(b) above, are
            disallowed without the need for objection.

5.    Executory Contracts and Leases. The debtor ASSUMES the following executory contracts and
      leases:
                                        Amount of
                                          Default
                 Creditor             (State if None)           Cure Provisions
     None




      Executory contracts or leases not specifically listed above are rejected. Any allowed claim arising
      from rejection will be treated under paragraph 4(g). Debtor will pay all assumed executory contracts
      and leases directly, including amounts required to cure. Debtor must surrender any property covered
      by rejected executory contracts or leases to the affected creditor no later than confirmation. Debtor
      MOVES that the stay of § 362(a) be terminated as to all property covered by rejected executory
      contracts and leases and that the stay of § 1301 be terminated.

6.    Section 522 Lien Avoidance. Debtor MOVES, pursuant to § 522(f)(1), to avoid the judicial liens or
      non-purchase-money security interests of the following creditors because they impair an exemption
      of the debtor:
      None




      The order of confirmation will avoid the liens listed above and claims of the lienholders will be
1300.21 (12/1/2021)                             Page 5 of 7

                            Case 22-31672-thp13         Doc 2     Filed 10/06/22
    treated in paragraph 4(g).

 7. Direct Payments. Debtor must pay directly to each of the following creditors the regular payment that
    comes due after the petition date (state creditor name followed by collateral description):
     Wauna Federal Credit Union (mortgage, residence)
     Clatsop County Assessor (property taxes, vacant lot: Sunside Estates, Lot 15, Seaside, OR)




 8. Use of Credit. Debtor may not obtain credit or incur debt obligations during the life of the plan and
    out of the ordinary course of operating debtor's business unless the trustee gives written consent, the
    obtaining of the credit or incurring of the debt is made necessary by emergency, or debtor gives
    notice to all creditors and the trustee and an opportunity for hearing as if the credit or debt were to
    be incurred by the trustee.

 9. Debtor Reporting Requirements. Unless waived by the trustee in writing, debtor must report
    immediately, upon receipt of notice of the change, to the trustee if actual or projected gross annual
    income exceeds by more than 10% the gross income projected by debtor in the most recently filed
    Schedule I. Unless listed in the schedules, debtor must report immediately to the trustee any right
    of debtor to a distribution or right to distribution of funds or other property, including bonuses and
    inheritances, worth more than $2,500.

 10. Postpetition Tax Reporting. For tax years listed in paragraph 3(c), debtor must timely file all
     required tax returns and provide copies to the trustee each year immediately upon filing with the
     taxing authority.

 11. Vesting of Estate Property; Limitations on Postconfirmation Property Use. Property of the
     estate will vest in debtor upon confirmation, subject to the terms of this paragraph. Except for regular
     monthly income, any right of debtor to a distribution of funds or other property exceeding a value of
     $2,500 must be held by debtor and not used without the trustee's permission or a court order. Debtor
     must not buy, sell, use, lease (other than a lease of real property in which the debtor will reside),
     encumber, or otherwise dispose of any interest in: (a) real property; or (b) personal property worth
     more than $10,000 out of the ordinary course of business without notice (given per FRBP 2002 as
     if the interest were property of the estate) to all creditors and the trustee, with an opportunity for
     hearing, unless the property is acquired through the use of credit with the trustee's written consent.

 12. Treatment of Trustee Funds on Hand Upon Dismissal or Conversion. If this case is converted to
     chapter 7 and the chapter 13 trustee has more than $2,500 at the time of conversion, the chapter
     13 trustee must forward all funds to debtor, in care of debtor’s attorney, if any, 10 days after the first
     scheduled § 341(a) meeting in the chapter 7 case unless the chapter 7 trustee files and serves a
     written objection pursuant to § 348(f)(2). If the funds in the chapter 13 trustee's possession at
     conversion are $2,500 or less, or if this case is dismissed, the chapter 13 trustee must forward all
     funds to debtor in care of debtor's attorney, if any. This paragraph does not determine the rights of
     the parties to these funds.

 13. Reservation of Rights and Powers. Except as expressly set forth in this plan or the confirmation
     order, neither this plan nor the confirmation order affects any right or power of debtor or the trustee,
     including debtor’s rights under § 1302 and rights of the trustee or any trustee’s assignee under 11
     U.S.C. chapter 5.

1300.21 (12/1/2021)                             Page 6 of 7

                           Case 22-31672-thp13          Doc 2     Filed 10/06/22
 14. Additional Nonstandard Provisions. Any nonstandard provisions are set forth below or on
     attachments; each provision is numbered, beginning with 15. Debtor and, if applicable, debtor’s
     counsel certify that the plan contains no nonstandard provision other than those set out consistent
     with this paragraph. Nonstandard provisions set out elsewhere in this plan are ineffective;
     nonstandard provisions will be effective only if there is a check in the box “Includes” in paragraph 1.
     Please see Addendum.




 ___________________________________
 /s/ T. Darious Xavier    10/05/2022                            ___________________________________
 Debtor                         Date                             Debtor                        Date

 CERTIFICATE OF SERVICE on Creditors/Parties Treated in Paragraphs 4(b)(1) (under the
 “Collateral Value if Not Paying in Full” column), 4(b)(2) (under the “Amount of Claim as Modified”
 column), 5, and 6 (see FRBP 3012, 4003(d), and 9014, and LBR 6006-1(b)). I certify that copies of this
 plan and the notice of hearing to confirm this plan were served as follows:

 a) For creditors/parties who are not Insured Depository Institutions (served by court) (see FRBP
    7004(b)), I either listed the creditors/parties in the mailing list filed with the court exactly as follows,
    OR, on                , I served the above-documents by first-class mail to the creditors/parties at the
    names and addresses exactly as follows (list each creditor/party, the person or entity the
    creditor/party was served through, and the address):
     None




 b) For Insured Depository Institutions (see FRBP 7004(h)), on                     , I served the above-
    documents by certified mail, or by other authorized means (specify), at the name and address exactly
    as follows (list each insured depository institution, the person or entity the institution was served
    through, and the address):
     None




                                                                ___________________________________
                                                                /s/ Stephen Gindling, OSB #012604
                                                                 Debtor or Debtor’s Attorney
                                                                For Todd Trierweiler, OSB #853481




1300.21 (12/1/2021)                             Page 7 of 7

                           Case 22-31672-thp13          Doc 2     Filed 10/06/22
T. Darious Xavier
Addendum to Chapter 13 Plan dated October 5, 2022


15. The Debtor shall sell or refinance his residential property located at 1653 Lea Way, Seaside,
Clatsop County, Oregon 97138 not later than May 31, 2027, and shall pay to the Trustee from
the proceeds at closing, funds sufficient to pay all creditors secured by the subject property
remaining in the plan and other claims as necessary. Secured creditors are Wauna Federal
Credit Union and Hyun Sook Mayben-Reynolds. In the event the Debtor desires to complete his
plan before the expiration of the commitment period, he shall also pay to the Trustee for
distribution through the Plan, non-exempt proceeds to the extent required by the Trustee’s payoff
quote. The Debtor shall obtain the Trustee’s permission prior to any sale or refinance, and to
obtain that permission, provide copies to the Trustee of an estimated closing statement and
preliminary title report. The Debtor shall provide the Trustee with a copy of the final closing
statement within 15 days following the close of the sale or refinance.
16. Debtor may use a credit card for business purposes only. Debtor must pay entire balance
each month by the due date.
17. Within 60 days after confirmation, Debtor shall file an adversary complaint against Hyun
Sook Mayben-Reynolds to avoid her judgment lien against Debtor’s residence as a preference
pursuant to 11 U.S.C. §547.




                      Case 22-31672-thp13        Doc 2    Filed 10/06/22
